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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                      CASE NO. 17-60760-CIV-DIMITROULEAS
  JOAN RICHARDS, individually and on
  behalf of all others similarly situated,

             Plaintiff,
  vs.

  MDLIVE, INC., a Delaware Company,

        Defendant.
  _____________________________________/

                                      ORDER OF DISMISSAL

             THIS CAUSE is before the Court on the Notice of Voluntary Dismissal [DE 20] (the

  “Notice”), filed herein on June 2, 2017. The Court has carefully considered the Notice and is

  otherwise fully advised in the premises.

             Accordingly, it is ORDERED AND ADJUDGED as follows:

        1.       The Notice [DE 20] is hereby APPROVED;

        2.       This action is DISMISSED with prejudice;

        3.       The Clerk is directed to CLOSE this case and DENY any pending motions as moot.

             DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

  5th day of June, 2017.




  Copies furnished to:
  Counsel of Record
